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                                              11 Attorneys for Petitioners
                                              12                        UNITED STATES DISTRICT COURT
                                              13                      CENTRAL DISTRICT OF CALIFORNIA
                                              14 507 SUMMIT LLC and KOA CAPITAL                  CASE NO. 8:23-MC-18-CJC-DFM
                                                 L.P.,
                                              15               Petitioners,                      MOTION TO COMPEL
                                                 v.
                                              16 ROTH CAPITAL PARTNERS, LLC,
                                                               Respondent,
                                              17
                                              18         Petitioners hereby move to compel respondent to produce all documents within
                                              19 its possession, custody or control responsive to the subpoena attached to the Order
                                              20 granting petitioners’ § 1782 application (ECF Doc. #14, the “Order’) and for
                                              21 appropriate sanctions, pursuant to Rule 37, or alternatively, for issuance of a contempt
                                              22 citation against respondent, pursuant to Rule 45(g). Petitioners rely on the declaration
                                              23 of Jeffrey Chubak and memorandum of points and authorities in support.
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                                                   MEMORANDUM OF POINTS AND AUTHORITIES                        CASE NO. 8:23-MC-18-CJC-DFM
3576-001/Motion to Compel
                                             Case 8:23-mc-00018-CJC-DFM Document 15 Filed 03/06/24 Page 2 of 3 Page ID #:1928




                                               1 Dated: March 6, 2024                         LEVINSON ARSHONSKY KURTZ &
                                               2                                                KOMSKY, LLP

                                               3                                              By: /s/ Richard I. Arshonsky
                                               4                                                Richard I. Arshonsky

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                                                   MEMORANDUM OF POINTS AND AUTHORITIES                      CASE NO. 8:23-MC-18-CJC-DFM
3576-001/Motion to Compel
                                    Case 8:23-mc-00018-CJC-DFM Document 15 Filed 03/06/24 Page 3 of 3 Page ID #:1929



                                                                            CERTIFICATE OF SERVICE
                                      1
                                                I am and was at all times herein mentioned over the age of 18 years and not a party to the
                                      2 action in which this service is made. At all times herein mentioned I have been employed in the
                                        County of Los Angeles, State of California. My business address is 15303 Ventura Blvd., Suite
                                      3 1650, Sherman Oaks, CA 91403.

                                      4
                                               (BY CM/ECF SYSTEM) On March 6, 2024, I caused to be electronically filed the
                                      5         following document(s) described as: MOTION TO COMPEL; MEMORANDUM OF
                                                POINTS AND AUTHORITIES; DECLARATION OF JEFFREY CHUBAK IN
                                      6         SUPPORT with the Clerk of the United States District Court of Central District of
                                                California, using the CM/ECF System. The Court's CM/ECF System will send an e-mail
                                      7         notification of the foregoing filing to the following parties (or on the attached service list)
  LEVINSON ARSHONSKY & KURTZ, LLP




                                                and counsel of record who are registered with the Court's CM/ECF System:
                                      8
                                                       Richard I. Arshonsky
                                      9                 rarshonsky@lakklawyers.com, smcfadden@lakklawyers.com
                                                       Jeffrey S Chubak
                                     10                 jchubak@aminillc.com
                                     11
                                               (BY MAIL) On the date below, I caused to be placed in an envelope for collection and
                                     12         mailing following our ordinary business practices the following documents described as
                                                listed above. I am readily familiar with firm's practice of collection and processing
                                     13         correspondence for mailing. Under that practice it would be deposited with U.S. postal
                                                service on that same day with postage thereon fully prepaid on the following (or on the
                                     14         attached service list):

                                     15         Richard Platt, Esq.
                                                General Counsel
                                     16         Roth Capital Partners, LLC
                                                888 San Clemente Dr., Suite 400
                                     17         Newport Beach, CA 92660
                                                Courtesy Copy sent via Email: Richard Platt <RPlatt@roth.com>
                                     18

                                     19
                                                I declare that I am employed in the office of a member of the Bar of, or permitted to practice
                                     20 before,  this Court at whose direction the service was made and declare under penalty of perjury
                                        under the laws of the United States of America that the foregoing is true and correct.
                                     21
                                                Executed on March 6, 2024, at Sherman Oaks, California.
                                     22
                                          Natalie Condren                                /s/ Natalie Condren
                                     23                                                                    Signature
                                     24

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                                                                               CERTIFICATE OF SERVICE
2176-012/1038101
